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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

In Re:                                        )
                                              )        Case No.: 21-30818
MARK L. KIRK and                              )
LISA G. KIRK,                                 )
                                              )        Chapter 13
                Debtors.                      )

                  OBJECTION TO NOTICE OF POST-PETITION
                  MORTGAGE FEES, EXPENSES AND CHARGES

         COME NOW the Debtors, Mark and Lisa Kirk, by and through their attorney,

J.D. Graham, and for their Objection to Notice of Post-Petition Mortgage Fees, Expenses

and Charges states as follows:

         1. On November 30, 2021, the Debtors filed for relief under Chapter 13 of the

Bankruptcy Code.

         2. On February 10, 2022, US Bank Trust National Association filed a Notice of

Post-Petition Mortgage Fees, Expenses and Charges with the Court in the amount of

$1,200.00 for the following:

               $1,200.00 Bankruptcy/ Proof of Claim Fees ($950 for Proof of Claim/Plan

                           Review & $250 for 410A Prep).


         3. Debtors request the “Bankruptcy/ Proof of Claim Fees” be reduced from

$1,200.00 to $700.00, as the fees requested are excessive and not reasonable pursuant to

In re Coates, 292 B.R. 894 (Bankr. C.D. Ill. 2003). More specifically, counsel for

Debtors believes that $300.00 for preparation of the Proof of Claim, $150.00 for plan

review, and $250.00 for 410A prep are more reasonable.
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       4. This district has had a form plan for years, and for a mortgage holder to

review the plan, it takes just a moment to turn to the page where mortgages have always

been found. Additionally, it is unclear whether an attorney did the work, or someone

from the mortgage company, in which case Debtors would request an itemized statement

of who did the work and how long it took.


       5. Additionally, the Proof of Claim form is a standard form wherein numbers

from the 410A attachment are inputted.

       WHEREFORE, Debtors pray for an Order from this Court reducing the

“Bankruptcy/ Proof of Claim Fees” from $1,200.00 to $700.00, and for such other relief

as the Court deems just and proper.

                                                    MARK & LISA KIRK,


                                                    By: /s/ J.D. Graham
                                                    J.D. Graham, #06211732
                                                    Attorney for Debtors
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                                     Proof of Service

       The undersigned hereby certifies that a copy of the foregoing instrument was
served upon the persons listed below that were not noticed electronically by first class
mail, postage prepaid this 14th day of February 2022.

                                                    /s/ Jennifer Schweiger


US Bank Trust National Association
c/o Molly Slutsky Simons
Sottile & Barile, Attorneys at Law
394 Wards Corner Rd., Ste. 180
Loveland, OH 45140
